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     Case 2:09-cv-02158-CJC      Document
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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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     ERNEST DEWAYNE JONES,                   )
11                                           )          Case No.: CV 09-02158-CJC
                 Petitioner,                 )
12                                           )
           vs.                               )
13                                           )
                                             )
14
     KEVIN CHAPPELL, Warden of               )          ORDER AMENDING BRIEFING
     California State Prison at San Quentin, )          SCHEDULE AND SETTING
15                                           )          HEARING ON CLAIM 27
                 Respondent.                 )
16                                           )
                                             )
17                                           )
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19         The Court is in receipt of the parties’ opening briefs regarding Claim 27 in
20   Petitioner’s First Amended Petition for Writ of Habeas Corpus. Having reviewed
21   Petitioner’s brief, as well as Respondent’s 8-page brief, the Court no longer believes that
22   an extended briefing schedule on this matter is necessary. Accordingly, the briefing
23   schedule on Claim 27 is hereby amended as follows:
24

25         1. The parties’ simultaneous responsive briefs shall be filed by July 3, 2014;
26         2. The parties’ simultaneous reply briefs shall be filed by July 18, 2014; and
27         3. The hearing on Claim 27 is scheduled for August 4, 2014 at 11 a.m.
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           Case 3:11-cv-04454-SI
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 1             Attached to this Order is a chart of the case status of 496 individuals sentenced to
 2   death in California between 1978 and 1997. The chart is a compilation of publicly
 3   available information from the court dockets of the four federal judicial districts in
 4   California, the public docket of the California Supreme Court, and the California
 5   Department of Corrections and Rehabilitation’s (“CDCR”) list of condemned inmates.1
 6   The chart strongly suggests that executing those essentially random few who outlive the
 7   dysfunctional post-conviction review process serves no penological purpose and is
 8   arbitrary in violation of well-established constitutional principles. The parties are
 9   encouraged to address the chart and the troubling issues it raises in their responsive
10   briefs.
11

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13             DATED:       June 11, 2014
14

15                                                    _________________________________
16                                                           CORMAC J. CARNEY
17                                                    UNITED STATES DISTRICT JUDGE
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25     The CDCR’s list is available at
     http://www.cdcr.ca.gov/capital_punishment/docs/condemnedinmatelistsecure.pdf. A summary
26   of the CDCR list is available at
     http://www.cdcr.ca.gov/Capital_Punishment/docs/CondemnedInmateSummary.pdf. Finally, the
27
     CDCR’s list of Death Row inmates that have died on Death Row since 1978 is available at
28   http://www.cdcr.ca.gov/Capital_Punishment/docs/CONDEMNEDINMATESWHOHAVEDIED
     SINCE1978.pdf.
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